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               EXHIBIT E
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From:               Beatty, Greg
To:                 Hazard, Gjon
Cc:                 Sarah Rinkevich
Subject:            WIFL petition
Date:               Monday, May 15, 2017 11:15:00 AM




Hi Gjon,

A quick response to your message. Thanks for taking a look at our WIFL tome. We did
reference Zink's Open Ornithology letter briefly as something we received and looked at, but
didn't provide any new information. We'll take a look at your other thoughts. Thanks again..
Greg

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PLEASE NOTE OUR NEW ADDRESS
OUR OFFICE HAS MOVED TO THE BLM TRAINING CENTER,
3rd FLOOR, NEAR METROCENTER

Greg Beatty
US Fish and Wildlife Service
9828 North 31st Avenue #C3
Phoenix, AZ 85051-2517
602-242-0210
602-242-0247
